           Case 3:09-cv-00465-ST       Document 1      Filed 04/27/09      Page 1 of 5




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                           UNITED STATES DISTRICT COURT

                                DISTRICT OF OREGON



                                               Case No.:     LV '09
SHEILA KEELING,
                                               COMPLAINT;
              Plaintiff,
                                               FAIR DEBT COLLECTION PRACTICES
     vs.                                       ACT (15 USC 1692); INVASION OF
IQ DATA INTERNATIONAL, INC.,                   PRIVACY
              Defendant                        DEMAND FOR JURY TRIAL

                                 I. INTRODUCTION
1.     This is an action for damages brought by an individual consumer for Defendant's

violations of the following provisions, resulting from abusive behavior against Plaintiff in

the course of Defendant's attempt to collect a debt:

              (1) The federal Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et

              seq. (hereinafter "FDCPA")

              (2) Invasion of Privacy by Intrusion upon Seclusion

                                  II. JURISDICTION

2.     The FDCPA claim arises under 15 U.S.C. § 1692k(d), and therefore involves a

"federal question" pursuant to 28 USC § 1331. This court has supplemental jurisdiction



                                        Complaint· 1
            Case 3:09-cv-00465-ST       Document 1      Filed 04/27/09   Page 2 of 5




over the Oregon State claim pursuant to 28 USC § 1367(a).

                                   III. PARTIES

3.      Plaintiff, Sheila Keeling ("Plaintiff'), is a natural person residing in Multnomah

County, Oregon.

4.      Defendant, IQ Data International, Inc., ("Defendant") is a corporation engaged in

the business of collecting debts by use of the mails and telephone, and Defendant

regularly attempts to collect debts alleged to be due another.

                            IV. FACTUAL ALLEGATIONS

5.      Defendant is a "debt collector" as defined by the FDCPA, 15 U.S.C. § 1692a(6).

6.      Plaintiff is a "consumer" as defined by the FDCPA, 15 U.S.C. § 1692a(3).

7.      All activities of Defendant set out herein were undertaken in connection with the

collection ofa "debt," as defined by 15 USC § 1692a(5).

8.      Within the last year, Defendant contacted Plaintiff by telephone in an attempt to

collect an alleged outstanding debt.     During that telephone conversation, Defendant

performed the following acts, which amount to violations under various federal and state

laws:

           a) Communicating with Plaintiff at times or places which were known or

              should have been known to be inconvenient for Plaintiff, including

              contacting Plaintiff before 8:00 am local time (§ 1692c(a)(1»;

           b) Threatening to take an action against Plaintiff that cannot be legally taken

              or that was not actually intended to be taken, including threatening to file a




                                        Complaint - 2
            Case 3:09-cv-00465-ST        Document 1      Filed 04/27/09   Page 3 of 5




               lawsuit against Plaintiff on March 10, 2009, if Plaintiff did not pay the

               balance in full on that day (l692e(5»;

           c) Failing to disclose Defendants true corporate or business name in a

               telephone call to Plaintiff, including referring to Defendant as DRMl,

               which was not a sufficient disclosure of Defendants identity (§ 1692d(6)).

9.      As a result of the aforementioned violations, Plaintiff suffered and continues to

suffer injuries to Plaintiffs feelings, personal humiliation, embarrassment, mental

anguish and severe emotional distress.

1O.     Defendant intended to cause, by means of the actions detailed in paragraph 7,

injuries to Plaintiff's feelings, personal humiliation, embarrassment, mental anguish and

severe emotional distress.

11.     Defendant's action, detailed in paragraph 7, was undertaken with extraordinary

disregard of, or indifference to, known or highly probable risks to purported debtors.

12.     Defendant's actions, detailed in paragraph 7, constituted an extraordinary

transgression of the bounds of socially tolerable conduct

13.     To the extent Defendant's actions, detailed in paragraph 7, were carried out by an

employee of Defendant, that employee was acting within the scope of his or her

employment.

      COUNT I: VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT

14.     Plaintiff reincorporates by reference all of the preceding paragraphs.

      COUNT II: INVASION OF PRIVACY BY INTRUSION UPON SECLUSION

15.     Plaintiff reincorporates by reference all of the preceding paragraphs.



                                         Complaint - 3
            Case 3:09-cv-00465-ST       Document 1       Filed 04/27/09   Page 4 of 5




16.    Defendant's aforementioned violations of the FDCPA also constitute an

intentional intrusion into Plaintiffs private places and into private matters of Plaintiffs

life, conducted in a manner highly offensive to a reasonable person. Plaintiff had a

subjective expectation of privacy in the context of Defendant's actions that was

objectively reasonable under the circumstances.

                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

Defendant for the following:


       A.     Declaratory judgment that Defendant's conduct violated the FDCPA

       B.     Actual damages pursuant to 15 USC 1692k and the Common

              Law of Oregon;

       C.     Statutory damages pursuant to 15 U.S.C. § 1692k and punitive damages

              pursuant the Common Law of Oregon.

       D.     Punitive Damages
       E.     Costs, disbursements and reasonable attorney's fees for all successful

              claims, and any unsuccessful claims arising out of the same transaction or

              occurrence as the successful claims, pursuant to 15 U.S.C. § 1692k and the

              Common Law of Oregon; and,

       F.     For such other and further relief as may be just and proper.




                                         Complaint - 4
Case 3:09-cv-00465-ST   Document 1       Filed 04/27/09   Page 5 of 5




   PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY


                               Dated this 21 st day of




                         Complaint - 5
